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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

UNITED STATES OF AMERICA                                                    PLAINTIFF

v.                           CASE NO. 4:17-CR-00293-BSM

MARCUS MILLSAP                                                            DEFENDANT

                                        ORDER

       The government’s motion to subpoena Marcus Millsap’s financial records was granted

and Sharon Carr was ordered to send the records to my office for in camera review. Doc.

No. 2625. Carr delivered the records, and Millsap provided an ex parte privilege log and

explanatory affidavit of counsel. Having now reviewed the records, the documents identified

as privileged by Millsap will be removed. The remaining non-privileged records are

available in the clerk’s office for the government to review and copy.

       IT IS SO ORDERED this 21st day of November, 2022.



                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
